       2:17-cr-20037-JES-JEH # 51       Page 1 of 13                                       E-FILED
                                                          Wednesday, 17 January, 2018 03:42:12 PM
                                                                     Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
      v.                                       )       Case No. 17-CR-20037
                                               )
BRENDT A. CHRISTENSEN,                         )
                                               )
                    Defendant.                 )

                                        ORDER



      Defendant, Brendt A. Christensen, filed a Motion to Bar Introduction of Expert

Testimony Pursuant to Federal Rule of Criminal Procedure 16(d)(2)(C) (#35) on

December 31, 2017. The government filed its Response (#36) on January 9, 2018. For the

following reasons, Defendant’s Motion (#35) is DENIED.

      On November 15, 2017, this court entered an Order (#34) requiring the

government to provide “all analysis of forensic evidence pursuant to Fed. R. Crim. P. 16

and written summaries of expert testimony it intends to use under Federal Rule of

Evidence 702, 703, or 705 to Defendant no later than December 15, 2017.” Defendant

claims the government has not provided the required disclosures under Rule 16, and

instead merely dumped a list of ten expert witness names on Defendant at the last

minute on December 14, 2017.
       2:17-cr-20037-JES-JEH # 51        Page 2 of 13



      Defendant’s Motion seeks to bar the government from presenting, at trial, expert

testimony on topics “ranging from fingerprint analysis, audio/visual analysis,

electronic forensics, Chinese culture, canine cadaver searches, and cellular telephone

data analysis.”

      The government rejects Defendant’s claim, arguing that not only has it made the

necessary disclosures under Rule 16, but that it has gone above and beyond in many

instances in providing more than is required under the rules and law. The government

further argues that some of the disclosed witnesses are rebuttal witnesses, and thus it is

not necessary to disclose them before trial. The government also argues that barring the

expert testimony is too drastic a remedy for the discovery issues complained of in

Defendant’s Motion and that, if the court finds the government has failed in its

obligations under Rule 16, the court should fashion a less draconian solution.

                                  ANALYSIS

      First, the court will focus on the experts it believes the government intends to call

in its case in chief based upon the pleadings. Those experts are covered by Rule 16’s

disclosure requirements. Rule 16(a)(1)(G) states:

      At the defendant’s request, the government must give to the defendant a
      written summary of any testimony that the government intends to use
      under Rules 702, 703, or 705 of the Federal Rules of Evidence during its
      case-in-chief at trial. If the government requests discovery under
      subdivision (b)(1)(C)(ii) and the defendant complies, the government
      must, at the defendant’s request, give to the defendant a written summary
      of testimony that the government intends to use under Rules 702, 703, or
      705 of the Federal Rules of Evidence as evidence at trial on the issue of the
      defendant’s mental condition. The summary provided under this


                                            2
       2:17-cr-20037-JES-JEH # 51         Page 3 of 13



       subparagraph must describe the witness’s opinions, the bases and reasons
       for those opinions, and the witness’s qualifications.

Fed.R.Crim.P. 16(a)(1)(G).

       The summary should also cover not only written and oral reports, tests, and

investigations, but any information that might be recognized as a legitimate basis for an

opinion under Federal Rule of Evidence 703. United States v. Vallone, 2008 WL 516715, at

*2 (N.D. Ill. Feb. 21, 2008), citing Fed.R.Crim.P. 16 advisory committee’s note, 1993

Amendment.

       The purpose of the disclosures is to “‘to minimize the surprise that often results

from unexpected expert testimony, reduce the need for continuances, and to provide

the opponent with a fair opportunity to test the merit of the expert’s testimony through

focused cross-examination.’” United States v. Cuellar, 478 F.3d 282, 294 (5th Cir. 2007),

quoting Fed.R.Crim.P. 16, advisory committee’s note, 1993 Amendment.

       The government has stated that it intends to call, in its case in chief, expert

witnesses on the following subjects: DNA and serological evidence; electronic evidence;

fingerprints; video and audio enhancement; canines; and cell phone records.

       DNA and Serological Expert Amanda Bakker

       Defendant claims that, prior to the December 15, 2017 deadline, the government

produced no summaries that satisfied Rule 16(a)(1)(G), and produced only one set of

test results that satisfied Rule 16(a)(1)(F), which were the DNA and serological lab

analysis from the FBI lab in Quantico, Virginia, compiled by Amanda Bakker.



                                              3
       2:17-cr-20037-JES-JEH # 51        Page 4 of 13



Defendant claims Bakker’s curriculum vitae (CV) was disclosed without the testimonial

summary required by Rule 16(a)(1)(G). The government responds that on November

20, 2017, Bakker, an FBI biologist, authored an 11-page report summarizing the DNA

and serological analysis, which is the basis of her expected testimony in this case. The

government claims it received a copy of the report on Friday, November 24, 2017, and

that it met in person with defense counsel the following Monday and handed them a

copy of Bakker’s report. The next day the government provided defense counsel with a

bates-stamped copy of the report. The government provided yet another copy of the

report on December 5, 2017.

       On December 14, 2017, the government provided Defendant with the underlying

reports, bench notes, computer printouts, and other specific information regarding the

FBI’s Short Tandem Repeat (STR) DNA analysis and serological testing, and Bakker’s

curriculum vitae, specifically setting forth her qualifications. The government also

provided a letter to defense counsel specifically identifying Bakker as an expert witness

it intended to call during its case in chief, and stated that her qualifications, a summary

of her testimony, including her opinions and the bases and reasons for those opinions,

were contained in the discovery already provided.

       The court agrees with the government that, absent specific argument or evidence

cited to by Defendant to the contrary, the government has more than lived up to its

obligation under Rule 16 regarding the expert disclosure of Amanda Bakker. The

government has provided all of the information it has regarding Bakker’s serological


                                             4
       2:17-cr-20037-JES-JEH # 51        Page 5 of 13



and DNA findings, the reasons for her opinions, and her qualifications. The court

agrees with the government that there is nothing more it could provide regarding

Bakker, short of Bakker’s direct examination and anticipated answers to those

questions, to which, obviously, Defendant is not entitled.1 See United States v. Lindsey,

2013 WL 5275777, at *2 (C.D. Ill. Sept. 18, 2013). Defendant’s Motion is denied with

respect to Bakker.

       Electronic Evidence Experts William O’Sullivan and Connie Gummadi

       Defendant does not state with any specificity whatsoever, how the government

has been deficient in complying with its Rule 16 obligations in regard to electronic

evidence experts William O’Sullivan and Connie Gummadi, outside of a claim,

regarding all the disclosed experts, that “no summary has been provided which

describes these alleged expert’s opinions.”

       The government states that its experts have examined various items, such as

phones and computers, that were seized during the investigation and the experts have

downloaded electronic evidence from those devices. The government states that on

November 21, 2017, the examiners drafted reports of examinations regarding the items.

On November 28, 2017, the government provided defense counsel copies of those


       According to the government as to all of the contested witnesses, Defendant was
       1

provided with the witness’ qualifications, their reports (the functional equivalent of a
written summary of the analysis and the witness’ anticipated testimony) and the raw
data underlying the reports. Indeed, the court is at a loss as to the additional discovery
the government could provide Defendant. Further, Defendant has failed to identify for
the court the missing discovery with any specificity, providing instead only vague
generalities.

                                              5
       2:17-cr-20037-JES-JEH # 51        Page 6 of 13



reports and a hard disk drive containing the vast amounts of raw electronic evidence

downloaded from the identified devices. The government states it also discussed with

counsel specific evidence located in the downloads that the government identified as

relevant to its case. On December 5, 2017, the government provided defense counsel

with O’Sullivan’s work product, which included a detailed timeline of Defendant’s

computer-related and online activities. On December 14, 2017, the government

provided the defense with a letter specifically identifying O’Sullivan and Gummadi as

expert witnesses, and asked defense counsel to contact the government if they

requested any further information. The government states defense counsel never

contacted it requesting such further information about O’Sullivan or Gummadi.

        The government states that it has turned over to Defendant all the raw electronic

data from the seized devices and the reports prepared by its experts based on that data.

       The court finds that the content turned over by the government more than

satisfies the requirements of Rule 16 at this stage. Defendant cannot claim surprise and

that he was not put on notice as to the content of the experts’ testimony, their opinions,

and the bases for those opinions. Defendant has not informed the court what it is

missing regarding the electronic evidence experts, or what is inadequate about the

discovery turned over to him by the government. The court does note that the

government has not stated whether it has provided Defendant with the qualifications

for Gummadi and O’Sullivan. If it has not done so, it should do so immediately upon

receipt of their qualifications.


                                             6
       2:17-cr-20037-JES-JEH # 51          Page 7 of 13



      Fingerprint Expert Andrew Z. Sites

      Again, there is no specific complaint from Defendant with regard to fingerprint

expert Sites, aside from no summary describing Sites’ opinion being produced. The

government states that Sites did not complete the fingerprint analysis until around

December 19, 2017. Anticipating the late completion, the government states that it

informed Defendant in a December 14, 2017 letter that it intended to call Fingerprint

Analyst Andrew Z. Sites as an expert witness, and that it provided a copy of Sites’ CV

and further stated it would provide a summary of his opinion upon its receipt. After

receiving Sites’ reports, the government provided a copy to defense counsel on

December 27, 2017, two weeks late. The government provided a copy of a compact disc

containing all the reports, bench notes, computer printouts, fingerprint image copies,

and other specific information regarding this case. The court finds that, without any

specific objection or reasoning from Defendant to the contrary, such information

satisfies the requirements of Rule 16(a)(1)(G). Although the discovery was provided

twelve days after the December 15, 2017 deadline, it appears it was promptly provided

upon receipt by the government, and, in any event, there were still sixty days to go until

trial, and Defendant has not stated how receiving the reports twelve days after the

deadline, but with sixty days remaining until trial, prejudiced him. As noted by the

government, the Seventh Circuit has found no Rule 16 violation when the government




                                              7
         2:17-cr-20037-JES-JEH # 51         Page 8 of 13



promptly turned over an expert report to the defendant even though there were only

ten days remaining before trial. United States v. Stevens, 380 F.3d 1021, 1025-26 (7th Cir.

2004).

         Video and Audio Enhancement Experts Alysha Jeans Hiller and Christopher W. Iber

         Again, there is no specific complaint from Defendant with regard to video and

audio enhancement experts Hiller and Iber, aside from no summary describing their

opinions being produced. The government states that, to make portions of the audio

and video recordings in this case clearer, FBI Forensic Audio/Video/Image Analysis

Unit Electronics Engineer Hiller enhanced audio recordings and the unit’s Photographic

Technologist Iber enhanced the video. The government claims it discussed these efforts

with defense counsel, and on December 14, 2017, disclosed Hiller and Iber as potential

expert witnesses at the upcoming trial and provided copies of their CVs. The

government states that it is unlikely either expert will be called to testify at trial, as, if a

witness with knowledge testifies that the enhanced recordings and videos are fair and

accurate representations of what they purport to depict, no additional authentication

would be required. The government further notes that, although they have not yet

authored any reports, the summary of their testimony need not come from the experts

themselves, and that the December 14, 2017 disclosure has adequately put Defendant on

notice of their potential testimony.




                                                8
       2:17-cr-20037-JES-JEH # 51         Page 9 of 13



       The expert witnesses themselves would not, apparently, be providing any actual

“expert opinions” about any substantive matter in this case. As noted by the

government, the enhanced audio and video recordings could be authenticated by

investigator witnesses with knowledge of the events depicted on the recordings, not the

experts. See Fed.R.Evid. 901(b)(1). The experts, in this case, could testify as to the

processes they used to enhance the recordings. The disclosures of the experts, their

field of knowledge, the work they performed, and their CVs are sufficient to put

Defendant on notice under Rule 16.

       Canine Experts Jeremy Bruketta and Dwight Arrowood

       Again, there is no specific complaint from Defendant with regard to canine

experts Bruketta and Arrowood, aside from no summary describing their opinions

being produced. The government states that these experts were enlisted during the

investigation by the FBI to conduct canine searches, and that these searches were

documented in law enforcement reports and provided to defense counsel. On

December 14, 2017, the government notified defense counsel that Bruketta and

Arrowood were potential expert witnesses regarding their use of the canines to conduct

the searches referenced in the discovery. The government contends that the December

14, 2017 disclosure adequately put Defendant on notice of their potential testimony.

       The court does not have access to the reports turned over to defense counsel

regarding Bruketta and Arrowood, and Defendant has not indicated in what manner

the reports are deficient in placing him on notice and preparing for trial regarding the


                                              9
       2:17-cr-20037-JES-JEH # 51        Page 10 of 13



experts’ potential testimony. Therefore, the Motion is denied on this ground at this

time. The government did not indicate if it turned over the experts’ qualifications to

Defendant. If that has not been done, it should be done as soon as possible.

       Cellular Phone Records Expert Greg Catey

       Again, there is no specific complaint from Defendant with regard to cell phone

expert Catey, aside from no summary describing his opinions being produced. The

government states that, as part of the investigation in this case, FBI Cellular Analysis

Survey Team Special Agent Catey obtained cellular telephone data and records, which

were disclosed to the defense on October 18, 2017. The government states it will call

Catey as a witness at trial to explain to the jury the information contained in the data

and the records he obtained. On December 14, 2017, the government identified Catey as

a potential expert witness regarding his analysis of the data and records and provided

Defendant with a copy of his CV.

        As noted by the government, the use of cell phone location records to determine

the general location of a cell phone has been widely accepted by numerous federal

courts. United States v. Jones, 918 F.Supp.2d 1, 5 (D.D.C. 2013). Such testimony is

generally accepted in the Seventh Circuit. United States v. Dean, 2012 WL 6568229, at *5

(N.D. Ill. Dec. 14, 2012). Further, members of the FBI’s Cellular Analysis and Survey

Team have been accepted by the courts as experts in their field. See Jones, 918

F.Supp.2d at 4. The type of testimony to be offered by Catey, analysis of cellular phone

data and locating a cellular phone based on that data, is quite common in the federal


                                            10
       2:17-cr-20037-JES-JEH # 51        Page 11 of 13



courts, and that knowledge, the standard methodology used by the expert in analyzing

the records and data, the records and data themselves which have been turned over to

Defendant, and Catey’s CV, put Defendant on notice as to the content and nature of

Catey’s testimony, and satisfy the requirements of Rule 16

       Rebuttal Experts

       The government states that it only intends to call FBI Linguist Mora Golden and

a University of Illinois professor of Chinese culture in rebuttal, if needed, and thus

those experts are not covered by the requirements of Rule 16. By its terms, Rule

16(a)(1)(G) does not cover rebuttal experts, as they are not presented in the

government’s case in chief.

       Local Rule 16.1

       Defendant’s Motion argues not just that the government has been deficient in

meeting its obligations under Federal Rule of Criminal Procedure 16, but that the

government has completely ignored its obligations and this court’s order. Outside of a

few CVs, Defendant claims that he has received no relevant discovery from the

government related to any expert opinion that satisfies Rule 16’s requirements.

       The government’s Response demonstrates that this is simply not true. In the

days since the government filed its Response, Defendant has not contested the

government’s statements. Rather than appearing to be stonewalling Defendant and

being uncooperative, the government’s Response reveals that the government has been

forthcoming with the disclosures, quick to respond to any inquiry from Defendant, and


                                            11
       2:17-cr-20037-JES-JEH # 51         Page 12 of 13



quick to keep Defendant apprised of incoming reports, information, evidence, etc. The

lack of a motion to file a reply on Defendant’s part confirms for the court the veracity of

the government’s Response.

       Criminal Local Rule 16.1(C) of the Central District of Illinois states that if

additional discovery is sought, defense counsel should confer with the appropriate

government attorney with a view towards satisfying those requests in a cooperative

atmosphere without recourse to the court. It appears that, once the December 15

deadline passed, no such conference was requested by Defendant. Instead, Defendant

filed this Motion with inaccurate claims as to the government’s Rule 16 disclosures,

requesting the court impose the most drastic and punishing remedy available under

Rule 16(d)(2): complete barring of the experts from testifying at trial. Defendant

requested such a sanction, despite not stating, with specificity, what was received and

what was deficient about the disclosures with regard to each disclosed expert, and why

exactly Defendant was prejudiced.

       The court understands that a case such as this one creates a lot of pressure, both

on the counsel (for both sides) and Defendant. Defendant is facing life in prison (and,

possibly the death penalty). This is not however, the first trial by counsel on either side

in which a defendant faces a life sentence if convicted. The court gently reminds

everyone that neither the attorneys involved, Defendant himself, the court, nor the

public benefit when a party files a motion filled with hyperbole and inflated claims.

Rather, everyone involved is better served during the pretrial process when a collegial


                                             12
       2:17-cr-20037-JES-JEH # 51         Page 13 of 13



and cooperative atmosphere is fostered, and the parties conduct themselves in a

professional manner to accomplish the task of being fully and fairly prepared for trial.

       If, in the coming weeks, Defendant is unable to meet with the government and

obtain what he claims is missing from the Rule 16 disclosures, the court can revisit the

issue raised in Defendant’s motion. However, based on the government’s Response, the

government is complying with the local and federal rules, meeting with defense counsel

on a regular basis, and replying to Defendant’s inquiries and requests in a timely

manner. If there has been any sort of violation of Rule 16(a)(1)(G), it certainly does not

rise to the level necessary to bar the expert from testifying.

       IT IS THEREFORE ORDERED:

       Defendant’s Motion to Bar Introduction of Expert Testimony Pursuant to Federal

Rule of Criminal Procedure 16(d)(2)(C) (#35) is DENIED.
                                17th              January
              ENTERED this             day of                             , 2018.



                                   s/ COLIN S. BRUCE
                                  U.S. DISTRICT JUDGE




                                             13
